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   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK
   ----------------------------------------------------------------------
                                                                   :
   AHARON MILLER, et al.,                                          :
                                                                   :
                                       Plaintiffs,                 :      Case No. 1:18-cv-02192-RPK-PK
                                                                   :
            -v-                                                    :
                                                                          NOTICE OF MOTION FOR A
                                                                   :
                                                                          PROTECTIVE ORDER
   ARAB BANK, PLC,                                                 :
                                                                   :
                                                                   :
                                       Defendants.
   ----------------------------------------------------------------------

                                                                   :
                                                                   :
   NATHAN PAM, et al.,                                             :
                                                                   :
                                       Plaintiffs,                 :        Case No. 1:18-cv-04670-RPK-PK
                                                                   :
            -v-                                                    :
                                                                   :
   ARAB BANK, PLC,                                                 :
                                                                   :
                                                                   :
                                       Defendants.
   ----------------------------------------------------------------------

      NOTICE OF DEFENDANT ARAB BANK PLC’s MOTION FOR A PROTECTIVE
                   ORDER PURSUANT TO FED. R. CIV. P. 26(C)

          PLEASE TAKE NOTICE that upon the accompanying Memorandum of Law in Support of

  its Motion for a Protective Order, and the declarations affixed thereto; and such other matters as

  may be presented at the hearing on this Motion or prior to the Court’s decision thereon; Defendant

  Arab Bank, PLC will move this Court, before the Honorable Peggy Kuo, in Courtroom 11C South,

  located at 225 Cadman Plaza East, Brooklyn, New York 11201, on a date to be set by the Court,

  for a Protective Order pursuant to Fed. R. Civ. P. 26(c).
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  Dated: March 4, 2022                      Respectfully submitted,

                                            DLA Piper LLP (US)

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